Case 2:90-cv-00520-KJM-SCR Document 3042 Filed 09/16/08 Page 1of7

APPENDIX 3
Page 2 of 7

Filed 09/16/08

Case 2:90-cv-00520-KJM-SCR Document 3042

g jo | aBed dSV

rae Ayeisads ay1$-O 10} Usag SayeWU] jo JOqUINN.
7a1BQ Ayeisads ap1S-uKG 10} U99S SAyELWU] Jo JEqLUNN
‘SJBIJOG SswIeAC Hulpseny pay jo JaquUNN
SIB|[OG BWI}GAQ UOHepCdsuel| fo J3qUuNN
_ qodsuel) paynpayss Jad sayewiuy jo Jaquiny aBercay

JEUIO 0} 8NG UBEs JON SeyewU] Jo JaqUINN |e}O| se=
JEPIAdid 0] 8NG USSS JON SS}EWU] Jo JSQLUNW [2}O1 sex
‘“APOISND O} ANG UsSS JON Sayewu] Jo JaqLUNN [E}O | ===
1193S JON SaJeuuU] JO JAQUINA [e}OL

[99S SoyeWU] JO JOAQUIN JeyOL

ISTESNJOY VJEWU] JO JAQUINA [EIOL

:s}ddy uo-ppy 8 penss| syeong Jo Joquiny [e}OL

7yJUOW 34} JO) UOHE|Ndog syEwLy|

UJUOI ISP]

yuo Juan deooy

JaquUNN suoud

:suoneiedg aseg yyesH JsAyeuy —
aqWNN sud

7suoITeIadg aeg YYesH ‘MY

UOSLd B}e}¢ [PUSAY

8002 ‘Isniny

1¥0d3y ALNVND SSADDY ANVD HLTWAH ATHLNOW
Page 3 of 7

Filed 09/16/08

Case 2:90-cv-00520-KJM-SCR Document 3042

9 jo 7 ebed dSV

oS

"UAdS JOU SAJELUU! Jo JOqUUNA JE}IOL OL

‘uosRal JaIOQ (BE

“NOS O} jno aye] {6

‘jeudsoy ye ayewuy (a}g

‘JYUBIUISAG PSAOLU ayetuU] (P)S

“SIGEBARUN plooay UIESH HUN (9)6

‘syeanp Buygoijucs paaiaoa ayeuuuy (ahs

pevajsuey so pajoied syewu| (e)g

*134JO 6} SNP UdTS JOU SAE JO JAqUINN

‘uoseal JayIO (ye

"JUSWSACLU Pajoujse Ayecipay (ale

‘uoeedaid juayed-ayewul fo yoe7] (p)g

“‘payjaoues Japiacig (o}9

“Joua Bunpeyss (q)g

Sul] SJo[dLuos o} ajqeun (es

“‘JaplAoid 0} ANP US9S JOU SAzJBUWEL] JO JAQUINN

‘uoseal JauIO (als

‘podsuen Ayjioes-enul jo yore] (p)Z

‘aoeds Buipjoy yBnoue jon fo)

“pays ul wesbod paylpoiy (q)/

“S800 Jo YOR] (B)Z

*KpoySnd 0} snp UdAS JOU Saye! Jo JBqUUNN

“U99S SAJELUU! JO JOGLUNN

“STeSnjas Jo JEquUNA

"*PAAI999) SS4y JO JOQUINA

"Palace! SZ79C2 Jo JEquINN

*sjuaujuiodde uo-ppe jo Jaquinn

Nets) wl) orn

“sJeonp Ben DUOIUD Jo JaquinN, (p},

"SJEONP NY JO sequiNN (9),

"syeonp oBel] NY JO JequNN (q)L

“S}Bonp JaplAgig aeg ABW jo sequiny (2),

Sroyo OO pPa|S/(/ S/O S/S Ope frolol/olalol/olSfal lo /o// oS oy;o/elTolyao|;|al|e

O/,OpPOsSO/OlSOo Ola aopolpelolsolrosolpolselosolsoOlpoyo o/e/solyo/sos;yoy;yo;ofrol;o

SLOOP SC/Sele Sl ole Sprol(SololSlos;Sl/OjyoOl[SO/SOlLOloselayolso ropoyo|;/o!|se

OPOLOpPOsOp OSpOos oso OlopOpoi olslolsosfololsol»pop»oyolso oelpoOl;olol op ,o|/os;o!]e

OPOLPOlLOlOlSeflelole/Ee Slope OoysOlsOPe/ SPO aso lSosOojpoe;orosol oro; o|;a!|ea
OPOLOlOlOpealelelelee/l/opoprOolOlOPe/ Solo l;Opolyoljlerol »aolsoal;ororo|;oal;eae

“*panss! SJEONp |BSIPSw! Jo JOqLUNN

Je}OL

IA

Al

SOD1AJ9S [PSIPSW

s00z Isnbny

LYOd3y ALITVND SSADDY FJNVD HLTVAH ATHLNOW
Page 4 of 7

Filed 09/16/08

Case 2:90-cv-00520-KJM-SCR Document 3042

g Jo ¢ abed dSV

“U9TS JOU SAJEWUL JO JOQUINU [B}OL GL

‘uospaileu1O (a)gL

“unos 0} no ayewuy (SL

‘yeyidsoy ye ayewu (8)g1

"}UBIWIaA0 PeACWW syeLUL] (P)es1

“aiqe|eaeun pioosy uyesH wun (2)g1

“syeonp Buyoijuca paaisoas ayewu| (q}¢1

PSWAJSUBN JO pajoled ayeuu] (e)gL

"1940 0} ONP Wess JOU SEyeUWU! Jo JEqUINN

SL

‘uoseal JalIO (S8)//

UBLUSAGLU payoUjsal Ayeolpayy (P)/ 1

‘PafOOUed JAPIADId (9)/1

‘lowe Buynpayss (q)/ 1

“SUIT BJSa|CLuoo oO} ajqeun (e)/ 1

‘JaplAo/d 0} anp Udas JOU SAJEUILII JO JAQUINN

Zi

uOseal Jao (B)oL

“Hodsuey AWioes-e.jul Jo yO27 (P)OL

‘goeds Buipjoy yBnous joy (9)91

oaye ul WesBold pay!pow) (q)91

“SISaYYO Jo YOR] (BOL

‘ApO}SNS O} SNP USSS JOU SOJEWU! JO JOQLUNA

Sb

"88S SOJLUIUL JO JEGLUINN

Sb

“sjesnjai jo JOqUINN

Fi

"SISJUNOSUS JESIUI]D GOW Payeonpun jo JaquINN CL

*SJUSLUJUIOdde UO-ppe jo JOqUINN ZL

SLOSS SPO po SOloOloOlfropfpe sO, So) SO ao e/ opal» o; oc; oral; o|;e

OPS Oo Sele po Ool/Oo/( oops; oO], oOo] oF oO, oOo; oO, oy yo; ora; ao|o|;e

S/So/Sol/e/S/PolpojyoOl;olSo/Ofeay eo, Oo; Se Ppreay yaya); o,poyo;o;o; ol; o|;e

S/S eo/o/S EGO SC o/Ol/Ool(eal a oa, op Pop oye|/o,poyo;o;opoy;o;e

SOLOS SO/OopelOlOol/ol/Oolsofels ol oc]  o,Po, oy e/a; o;o;/oL,o;o;o!1e
SCPOLOos/S/OlelOlS/Os/OsoOpe; oOo; oOo]; oT, olL ole] oo; oy; o;o o;o|/ole

“*panssi Syeonp YYeaY jeyUsW Jo Joquinyy

LL

12}05

IA

Al

SOSIAIOS YWEsH [EWUSW

goog Isniny

LYOdayY ALITWND SSS99V SUVD HLIWSH ATHLNOW
Page 5 of 7

Filed 09/16/08

Case 2:90-cv-00520-KJM-SCR Document 3042

9 Jo p abe dSV

"UAdS JOU SSJELUUI! JO JAQUINN |E}OL ZZ

“UOSBal JOUIO (Boz

"ENod oO] Jno ayewU] az

‘Jeydsoy ye ayewu| (8)9Z

UBIWaAo paaow ayewu (p)9z

“SIQePeaeun plosay YYeaH Wun (9)9Z

‘sjeonp Bunsiyuce paaisoas ayewuu] (q)oz

“‘pauajsuey Jo pajoued ayewuy (ejgz

*194}0 0] SNP USIS JOU SIJEWU! JO JAQLUNN 9Z

‘UOSESIUBUIQ. (GZ

‘JUSWAACLY payouisal Aypeoipaly fa)oz

‘uoneuedaid jueyed-ajewiul jo yor] (p)sz

“‘payjaoues epindid (0)Gz

“Joule Bulinpauos (a)Sz

“Aull Sya/dLu0s oO} ajqeur) (e}sz

“JaplAcsd 0} SNP UBAS JOU S3JEUIU! JO JBQUINN SZ

‘uoseal JaylO (a)pz

‘podsuey Aloey-equl yo ye] (p)7Z

‘aoeds Buipjoy yBnous jon (9)rz

‘pays ul weiBoid payipow) (q)pz

“SJBOYJO JO Ye] (B)pZ

‘ApojSnhd 0} anp Uaas JOU SazyeWU! Jo JOqUINN, FZ

"UdDS SOJEUIUI JO JOAQUIN £Z

“s]esnjas Jo JOqUINN Zz

“s}usLujUIOdde UO-ppe Jo 1aqUInN LZ

Sro AS ofa Slo Oy yO; Ool/S Oo, Oo, ol; ao ao, ,o,re( Go) oy oOo; ao/ Oro; o;a
SpOle/Sl/e/osOlsoOsolsoOlseolopfpoy » go, oOo, opPao eo; Oo, o; ao] oOo} ojala
SO/OPOe Se Oo rOolopporolore|!] Oy; oOoPo; oo; ao; o;a;o; oro; o; ao; o;a;o
SLOpoalojyeolol/olsol/olyolse; ocpolpolroly oo; o,e!| oO; oOPo a; oOo; o,olie
e!1o ° S/SlOClOsO/SClOlSej VOIOPOlLOlrOl aelpapol;lol»porolr ro; oe; ore

*panssi sjeonp jejuap jo JoquNy COZ

Je}OL lA A Al tl il I SODIAIVS je}ueq

g00z ‘snbny
L¥Oday ALITVND SsadoY Suv HLIWSaH ATHLNOW
Page 6 of 7

Filed 09/16/08

Case 2:90-cv-00520-KJM-SCR Document 3042

9 Jog abed dSv

*UG9S JOU SA}BLUUI Jo JOQUINN |e}OL se

‘uoseay JBYLQ (Bre

“YNOD O} ne ayewuy Were

‘jeydsoy ye aye (a}pe

WYBiwIsA0 Peaolw ayewLy (pipe

“S|QEIIBACUN ploosy YESH HUN (o)rE

“syeonp Bunoiyuoo paalsoss ayewuy (a)pe

“paajsuel] Jo paroled ayewuuy (e)pe

"A9Y}C 0} BNP USS JOU SA}JEWU! Jo JOQWINN PE

‘uoseal Jag ies

‘JUSLUSACLU payoujsal Ayjeolpayy (eles

“uonevedaid juayed-ajyewuul Jo yore] (pjes

‘paljsoues ueloiUD (a)Ee

‘loua Bulnpayos (a)e¢s

‘paja|dusoo you eur] (eee

‘JaplAoid 0} onp UdaS JOU Saye! Jo JAqUINWY Fe

‘uoseal JaulO (a)ze

“Hodsuey Aypoey-enul jo yore] (p)ze

‘aoeds Buipfoy yBnouejox (o)ze

“peys ur weibold paypow (a)ze

‘SISDIYO Jo YOR] (2)ZE

“ApoySNd 0} ANP UI9S JOU SA}JELWUUI JO JAQUINN ZE

"Ud9S SO}EWUI JO JOGUINNY LE

“"S[BSNjal JO JOQUINN OF

“s}uauUIOdde UO-ppe jo 1EqQUINNY 6Z

elalolelololololololalafolofolsololelalofolefololojo
elolelolololololololelolololol ol colofololololololole
Sislololeclololololojalajaji al ololole|olololcoloalscioclea
Sloj ole efolol co) ololefoflolaololaiacfaejololololololole
O} 2) S/O] Of 9) O/C] OG) C/O] 0] 0/0) CO} C/o] e/al co] a; al olojaje
Slel/elslae/olaloclololelololololol cial sclololofalolole
ol olololelolololololelololo] olololelolclololololale

“pONss! SJEINP Jo JOqUINN 8Z

‘97'S “O's yes Adeiay

alls-UO ayig-up auqnd jeoiskud Kes-X qey _ saalAieg Ayeisads 9 Areyjiouy

JeJOL

002 ‘Isnbny
LYOd32y ALINVNO SS3AD0Y JYVD HLIVAH ATHLNOW
Page 7 of 7

Filed 09/16/08

Case 2:90-cv-00520-KJM-SCR Document 3042

9 J09 ebed dSV

‘yup ssaoo'y au] 0} paubisse sjsod
ASOLO FEUOHISLION JUBOBA Jo JEqLUN

o

g

JUN sseooy Su} 0} pauBisse suonisod
JBOJO [BUCHDSLOO payebpng jo JequINN

6?

‘UORNINSU! By} 10) sysod
JOOIYO FEUCROS.UO JUBOBA Jo JOQUINN

8P

“LOWNRSU! BU} JO} SUOKISOd
JEOJO J2UOnOa09 payeHpng Jo Jequiny

LP

fe}OL

yup ssasoy

"SuNOY HEJS Payalipal Jo JaquINN

oP

"SIEI|OP SULSAO JO JEqUINN

SP

‘sucnisod payeipng jo isquiny

br

Buipyens pew

"SINCY JES PA}QSJIPS JO JOQLUNN

£P

"SUETIOP SLUILIBAO Jo JaqLuNy

cr

‘suonisod pajyaBpng fo Jaquiny

LP

“*PpSLOdSUEL] SAJEWUI JO JAQLUNN

or

"SUOdSUBJ} SJOIYSA Painpayosun Jo JaquINN

be

“HNOS Buipnjoul ‘sjaujo [fy (q) ge

‘payejas Gwen yyeaH (Ee) ge

“SsHodsuey ajolyaA panpayos Jo JaqLuNN

8€

uonepVodsuell

“AUIS-Yo sodsue.j |j] Spos Jo JEqUUNN

Ze

"SUS-YO SLOdsUBH |] Spo Jo saquunyy

9€

feJOL

AAS

Mz

AAL

saolaleg Aouabiawy

$002 ‘snbny
LYOday ALITVND SSa00¥ 3uvD HLIVSH ATHLNOIW
